Case 2:04-cv-03010-SHI\/|-dkv Document 29 Filed 07/01/05 Page 1 of 3 Page|D 29

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LLC, and NATIONAL HOME INS. CO.,)
Plaintiffs,
vs.

No. 04-3010 MV

CHARLES PARK and DONNA PARK,

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to written notice, a Rule 16(b) scheduling conference
was held on June 30, 2005. Present were Julie Peak, counsel for
plaintiffs, Home Buyers Warranty Insurance Services, LLC and
National Home Insurance Company, participating by phone, and T.
Tarry Beasley, counsel for defendants, Charles and Donna Park.

The plaintiffs in this case have filed a petition to compel
the defendants in this case, Charles Park and Donna Park, to
arbitrate the claims they are presently prosecuting in state court
and to stay the state court action. Accordingly, there will be no
discovery in this federal proceeding, and substantive discovery
will take place in the state court action should the court deny the
motion to compel arbitration and stay discovery. This case will

not be set for trial. The case will be determined based upon the

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Case 2:O4-cv-O30lO-SHI\/|-dkv Document 29 Filed 07/01/05 Page 2 of 3 Page|D 30

plaintiffs' petition to compel arbitration, the defendants'
response to the petition, and the reply to the response if the
pending motion to file a reply is granted.

At the conference, the following matters were agreed upon and
the following dates were established as the final dates for:
PLAINTIFFS’ MOTION TO COMPEL ARBITRATION: already filed
DEFENDANTS' RESPONSE TO MOTION'TO COMPEL ARBITRATION: already filed
PLAINTIFFS' RESPONSE TO REPLY: motion pending with reply attached

OTHER RELEVANT MATTERS:

If factual issues arise that necessitate discovery, for
example, whether the parties executed an agreement to arbitrate,
then the parties may request a scheduling conference and amended
scheduling order.

The parties have not consented to trial before the magistrate
judge. Alternate dispute resolution is not appropriate.

This order has been entered after consultation with trial
counsel pursuant to notice. Absent good cause shown, the
scheduling dates set by this order will not be modified or
extended.

IT IS SO ORDERED this 30th day of June, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CV-030]0 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

